USCA Case #25-1004          Document #2120784             Filed: 06/13/2025     Page 1 of 1


                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________


No. 25-1004                                                September Term, 2024
                                                                              CFIUS-24-088
                                                                              CFIUS-24-154
                                                   Filed On: June 13, 2025 [2120784]
United States Steel Corporation, et al.,

              Petitioners

       v.

Committee on Foreign Investment in the
United States, et al.,

              Respondents

       BEFORE:       Millett, Pillard, and Childs, Circuit Judges

                                           ORDER

     Upon consideration of the government’s consent motion to maintain case in
abeyance, it is

      ORDERED that the motion be granted, and this case remains in abeyance
pending further order of the court.

       The parties are directed to file motions to govern by June 20, 2025.

                                       Per Curiam

                                                         FOR THE COURT:
                                                         Clifton B. Cislak, Clerk

                                                  BY:    /s/
                                                         Michael C. McGrail
                                                         Deputy Clerk
